         Case 1:17-cr-00201-ABJ Document 559 Filed 03/25/19 Page 1 of 1



                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                       :
                                               :      Criminal No. 17-cr-201-1 (ABJ)
                   v.                          :
                                               :
PAUL J. MANAFORT, JR.,                         :
                                               :
                        Defendant.             :


                                 NOTICE OF APPEARANCE

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, and Assistant United States Attorney Zia Faruqui, at telephone number

202-252-7117, hereby informs the Court that he is entering his appearance as co-counsel in this

matter on behalf of the United States.


                                               Respectfully submitted,

                                               JESSIE K. LIU
                                               United States Attorney
                                               D.C. Bar No. 472845



                                         BY:   /s/ Zia M. Faruqui
                                               ZIA M. FARUQUI
                                               Assistant United States Attorney
                                               D.C. Bar No. 494990
                                               U.S. Attorney’s Office
                                               555 4th Street, NW
                                               Washington, D.C. 20530
                                               (202) 252-7117
                                               Zia.Faruqui@usdoj.gov
